 Case 6:20-cv-02081-WWB-LRH Document 1 Filed 11/10/20 Page 1 of 5 PageID 1




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA

                                      Case No.

MINEOLA HOLDINGS INC.,
    a British Virgin Islands
     corporation,

             Plaintiff,

v.

STONEY BROOK FINANCING
    PARTNERSHIP, LTD., a
    Florida limited partnership and
    STONEY BROOK APARTMENTS
    LIMITED PARTNERSHIP, a
    Florida limited partnership,

          Defendants
________________________________/

     COMPLAINT TO IMPOSE CHARGING LIEN AND TO FORECLOSE
                LIEN ON PARTNERSHIP INTEREST

       Mineola Holdings Incorporated (“Mineola”) sues Stoney Brook Financing

Partnership, Ltd. (“Stoney Brook”) and Stoney Brook Apartments Limited

Partnership (“Apartments”), and says:

                                      PARTIES

       1.    Mineola is a corporation organized and existing under the laws of the

British Virgin Islands with its principal place of business located in Tortola, British

Virgin Islands.
                                               1
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 Case 6:20-cv-02081-WWB-LRH Document 1 Filed 11/10/20 Page 2 of 5 PageID 2




      2.     Stoney Brook is a limited liability company organized and existing

under the laws of the State of Florida, with its principal place of business located at

315 E. Robinson Street, Suite 600, Orlando, Florida.              Stoney Brook was

administratively dissolved on September 28, 2018.

      3.     Apartments is a limited partnership organized and existing under the

laws of the State of Florida, with its principal place of business located at 315 E.

Robinson Street, Suite 600, Orlando, Florida. Apartments was administratively

dissolved September 22, 2017.

      4.     Upon information and belief the citizenship of the plaintiff and the

members and partners of the defendants is diverse.

                  VENUE AND AMOUNT IN CONTROVERSY

      5.     Venue is proper in this district because the defendants reside here and

the operative agreement between the parties sets venue of any action in Orange

County, Florida and waives jurisdiction in any other forum.

      6.     The amount in controversy exceeds $2,465,000.00 exclusive of costs,

interest and attorneys’ fees.

                            GENERAL ALLEGATIONS

      7.     On or about October 30, 2015, Stoney Brook borrowed $2,465,000.00

from Birchwood Development Corp., a Panamanian corporation. The loan was

evidenced by a promissory note.
                                               2
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 Case 6:20-cv-02081-WWB-LRH Document 1 Filed 11/10/20 Page 3 of 5 PageID 3




      8.     On or about October 30, 2015, Stoney Brook executed a certain

Collateral Assignment of Partnership Interest in favor of Birchwood Development

Corp., collaterally assigning its interest in Stoney Brook Apartments Limited

Partnership, of which it held an interest slightly in excess of 71 percent. A copy of

the Collateral Assignment is attached as Exhibit “A.”

      9.     On or about October 30, 2015, Birchwood Development assigned the

promissory note, Collateral Assignment of Partnership Interest and other loan

documents to Mineola.

      10.    Stoney Brook defaulted on the promissory note by failing to make the

interest payment due April 1, 2019, and every interest payment due thereafter.

      11.    Stoney Brook failed to pay the note and accrued interest on maturity,

the same being October 30, 2020.

      12.    On or about October 30, 2020, Mineola, through its counsel, made a

demand upon Stoney Brook and Stoney Brook Apartments Limited Partnership to

forward all future partnership distributions to Stoney Brook to Mineola in

accordance with the terms of the Collateral Assignment. Mineola did not receive a

response to that demand.

      13.    Mineola has engaged the undersigned firm of attorneys and has agreed

to pay the said firm a reasonable fee for its services. Mineola’s recovery of attorney

fees is provided for in paragraph 18 of the Collateral Assignment.
                                               3
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 Case 6:20-cv-02081-WWB-LRH Document 1 Filed 11/10/20 Page 4 of 5 PageID 4




                                      COUNT I
                             Imposition of Charging Lien

      Mineola sues Stoney Brook and Apartments and re-alleges paragraphs 1

through 13, and further alleges:

      14.     This is an action to impose a charging lien on distributions by

Apartments to Stoney Brook.

      15.     Stoney Brook’s failure to pay the note and accrued interest when due

has caused damage to Mineola.

      16.     The Collateral Assignment provides upon default of the note or

Collateral Assignment and demand upon Apartments, Apartments is obligated to

distribute, transfer, pay and deliver all distributions to the assignee of the Collateral

Assignment.

      Wherefore, Mineola demands judgment for damages and the imposition of a

charging lien on the interest of Stony Brook Financing Partnership, Ltd. in Stoney

Brook Apartments Limited Partnership, together with an award of fees and costs and

such other and further relief as this court deems meet and just.

                                     COUNT II
                            Foreclosure Of Charging Lien

      Mineola sues Stoney Brook and Apartments and re-alleges paragraphs 1

through 13, and further alleges:
                                               4
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 Case 6:20-cv-02081-WWB-LRH Document 1 Filed 11/10/20 Page 5 of 5 PageID 5




      17.    This is an action to foreclose a charging lien granted to Mineola.

      18.    The Collateral Assignment provides for the disposition of Stoney

Brooks’ interest in Apartments upon Stoney Brooks’ default.

      Wherefore, Mineola demands that an accounting be taken under the direction

of the court of Stoney Brooks’ indebtedness to Mineola; that Stoney Brook be

ordered to satisfy the indebtedness within a short time certain; that in default of such

payment the court order Stoney Brooks’ interest in Apartments be sold under the

direction of the court; that out of the proceeds of sale Mineola be paid; and, that a

deficiency judgment be entered, if applicable; that the court award Mineola its

attorneys’ fees and cost and costs of sale and grant such other and further relief as is

meet and just.

      Dated: November 10, 2020.

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                                               5
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